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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                  )
IN RE: PHARMACEUTICAL INDUSTRY                    )    MDL No. 1456
AVERAGE WHOLESALE PRICE                           )    Master File No. 1:01-CV-12257-PBS
LITIGATION                                        )    Sub-Category Case No. 1:08-CV-11200
                                                  )
                                                  )
                                                  )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                         )
United States ex rel. Linnette Sun and Greg       )
Hamilton, Relators                                )
 v.                                               )
Baxter Hemoglobin Therapeutics and Baxter         )
International Inc.                                )
                                                  )
                                                  )

BAXTER INTERNATIONAL INC.’S MOTION FOR LEAVE TO CONDUCT LIMITED
  DISCOVERY AND FOR AN EXTENSION OF TIME TO SUBMIT REPLY BRIEF
             Baxter International Inc. (“Baxter”) respectfully requests leave to take the depositions

of Relators Linnette Sun and Greg Hamilton in order to explore jurisdictional issues raised by

declarations attached to Relators’ Opposition to Baxter’s Motion to Dismiss Relators’

Complaint.

             Relators’ Opposition demonstrates that they do not have the requisite firsthand

knowledge to qualify as original sources. However, the declarations attached to the Opposition

raise new facts not previously included in the Complaint. While Baxter does not interpret these

new facts as lending any further support to Relators’ case, it is aware of this Court’s admonition

in West that where Defendants have not requested jurisdictional discovery, reasonable inferences

from Relators’ sworn statements are drawn in favor of the Relator. United States ex rel. West v.

OrthoMcNeil Pharm., Inc. (In re Pharm. Indus. Average Wholesale Price Litig.), 538

F. Supp. 2d 367, 384 (D. Mass. 2008). In addition, at the June 22, 2009 hearing concerning the

Case Management Order, this Court indicated that if any new information came to light in




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Relators’ Opposition, Baxter should not hesitate to request jurisdictional discovery. See Exhibit

A (Transcript of June 22, 2009 Hearing), at 10-12.

           Therefore, in an abundance of caution, Baxter hereby requests that it be permitted to

take the depositions of Relators Sun and Hamilton to explore the information included in their

declarations and the basis for their claims that they are “original sources” within the meaning of

the False Claims Act. Among the new facts and allegations raised in the declarations are:

   •   Specifics about meetings Sun attended while a Baxter employee related to the pricing of
       Advate. Sun Decl. ¶¶ 6-14;

   •   Allegations that Sun was involved in communications with First DataBank, and
       information related to the substance of those conversations. Sun Decl. ¶ 15;

   •   The contention that Baxter deliberately encouraged the “overdosing” of patients by home
       health care agencies so that it could sell more product and home health care agencies
       could meet their volume commitments. Sun Decl. ¶ 12;

   •   Hamilton’s assertion that he “made at least three trips to Baxter’s Deerfield, Illinois
       offices to meet with Baxter managers to discuss pricing.” Hamilton Decl. ¶ 4; see also
       id. ¶ 5;

   •   Hamilton’s allegation that he had other interactions with Baxter executives in the course
       of his roles as either a customer or competitor, at which “pricing” or “prices” were
       discussed. Hamilton Decl. ¶¶ 4, 5, 7;

   •   Hamilton’s claim that one of these meetings included a long discussion about the pricing
       of Advate and that, a few months later, Baxter changed its price to “within a penny” of
       what he had “recommended.” Hamilton Decl. ¶ 6;

   •   Hamilton’s references to discussions with Kay Morgan of First Databank concerning
       Baxter’s pricing, and his claim that this is an additional source of his knowledge.
       Hamilton Decl. ¶¶ 8-10. None of these discussions are referenced in Relators’
       Complaint;

   •   Hamilton’s description of his knowledge about Marketing Research Bureau (“MRB”) and
       information he gleaned from a telephone conversation with a secretary for MRB
       regarding the nature and distribution of MRB reports. Hamilton Decl. ¶¶ 13-14.


           Finally, Baxter’s Reply brief is currently due September 30, 2009. In the interest of

efficiency, Baxter asks that this deadline be vacated and that it be permitted to submit its Reply



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  brief 15 days after all depositions have been completed in order that the information gleaned

  from depositions can be included in the submission. The hearing in this matter, currently

  scheduled for November 16, 2009, will likely need to be rescheduled to accommodate this

  discovery. A proposed order is attached.

                                                   Respectfully submitted,

Dated: September 23, 2009                     _/s/ Ruchi Jain _____________
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                                              Ruchi Jain
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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                )
IN RE: PHARMACEUTICAL INDUSTRY                  )    MDL No. 1456
AVERAGE WHOLESALE PRICE                         )    Master File No. 1:01-CV-12257-PBS
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                                                )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                       )
United States ex rel. Linnette Sun and Greg     )
Hamilton, Relators                              )
 v.                                             )
Baxter Hemoglobin Therapeutics and Baxter       )
International Inc.                              )
                                                )
                                                )

                                     [PROPOSED] ORDER


           IT IS HEREBY ORDERED THAT:

           Defendants in this action are permitted to take the depositions of Relators Linnette

Sun and Greg Hamilton, as soon as is practicable;

           Within 15 days following completion of the depositions, Defendants shall file their

Motion to Dismiss Reply brief; and

           The hearing on the motion to dismiss, currently scheduled for November 16, 2009, is

rescheduled to _________________________.


                                             __________________________
                                             Patti B. Saris
                                             United States District Court Judge




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                     CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

             I certify that the moving party has communicated with counsel for Relators in an
effort to resolve the dispute referred to in this Motion. Due to their conflicting schedules,
counsel for Relators were unable to confer amongst themselves until at least September 25.
Baxter informed counsel for Relators that the motion would be filed today, given the upcoming
deadlines.

                                                            _/s/ Ruchi Jain ________
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                                                            DICKSTEIN SHAPIRO LLP
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                                                            Facsimile: (202) 420-2201


                                CERTIFICATE OF SERVICE

           I hereby certify that I, Ruchi Jain, an attorney, electronically filed the foregoing
BAXTER INTERNATIONAL INC.’S MOTION FOR LEAVE TO CONDUCT LIMITED
DISCOVERY AND FOR AN EXTENSION OF TIME TO SUBMIT REPLY BRIEF with the
Clerk of the Court for the District of Massachusetts using the Court’s CM/ECF system on
September 23, 2009. I also caused a true and correct copy of the foregoing document to be
delivered to all counsel of record by electronic service via LexisNexis File & Serve, for posting
and notification to all parties.

                                                            /s/ Ruchi Jain ________________
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